Case 3:15-cr-00227-L Document 24 Filed 04/05/16 Palge 1 of 1 Page|D 61
IN THE UNITED STATES DISTRICT COUR

 

FOR THE NORTHERN DISTRICT OF TEXAS ph '
DALLAS DIVISION `

   
   

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UNITED STATES OF AMERICA
v.

BENJAMIN EARNEST NICHOLS

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REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

BENJAMIN EARNEST NlCHOLS, by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth
Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. ll, and has entered a plea of guilty to Count(s) One of the
Information After cautioning and examining BENJAMIN EARNEST NICHOLS under oath concerning each of the
subjects mentioned in Rule ll, I determined that the guilty plea Was knowledgeable and voluntary and that the offense(s)
charged is supported by an independent basis in fact containing each of the essential elements of such offense. l therefore
recommend that the plea of guilty be accepted, and that BENJAMIN EARNEST NICHOLS be adjudged guilty of 18
U.S.C. § 1030(a)(5)(A) and 18 U.S.C. § lO30(c)(4)(A)(i)(I) and (B), Intentional Damage to a Protected Computer and
have sentence imposed accordingly. After being found guilty of the offense by the district judge,

|:l The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
if released.

The Government does not oppose release.

)Z/ The defendant has been compliant With the current conditions of release.

>@/ I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
other person or the community if released and should therefore be released under § 3142(b) or (c).

l:] The Government opposes release.

l:l The defendant has not been compliant With the conditions of release.

l:l lf the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

|:| The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial Will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c)y `onal circumstances are clearly shown
under § 3145(c) Why the defendant should not be detained, and"’(Z) the ourt finds by clear and convincing
evidence that the defendant is not likely to flee or pose a danger,to ny other erson or the community if released.

    

Date: 5th day of April, 2016

 

 

y UNITED STATES MAGISTRATE JUDGE

Failure to file Written objections to this Report and Recommendation Within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).

 

